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 3
     Attorney for Defendant Sartaj Chahal
 4
 5
 6
                          IN THE UNITED STATES DISTRICT COURT
 7
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9                                               )   Case No.: 2:09-cr-00125-FCD
     UNITED STATES OF AMERICA,                   )
10                                               )   STIPULATION AND ORDER TO
                  Plaintiff,                     )   CONTINUE JUDGMENT AND
11                                               )   SENTENCING AND REQUEST FOR
           vs.                                   )   BRIEFING SCHEDULE
12                                               )
                                                 )   Date: August 29, 2011
13   SARTAJ CHAHAL, et al.,                      )   Time: 10:00 a.m.
              Defendants.                        )   Judge: Hon. Frank C. Damrell, Jr.
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16
           IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
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     Judgment and Sentencing scheduled for August 8, 2011 at 10:00 a.m. is continued to
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     August 29, 2011. On August 29, 2011, Defendant will move for a new trial and requests
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     a hearing on that date. The Judgment and Sentencing will be re-scheduled at the motion
20
     hearing, if necessary. Jason Hitt, Assistant United States Attorney and Thomas A.
21
     Johnson, Defendant’s attorney, are in agreement with the proposed briefing schedule:
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23
     New Trial Motion:                  July 11, 2011
24
     Government’s Opposition:           August 15, 2011
25
     Defendant’s Reply:                 August 22, 2011
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27
           It is further stipulated that the period from the date of this stipulation through and
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     including August 29, 2011, be excluded in computing the time within which trial must


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 1   commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and
 2   Local T4 (reasonable time for preparation of counsel).
 3
 4   IT IS SO STIPULATED.
 5
 6   DATED: June 21, 2011                            By:      /s/ Thomas A. Johnson_____
                                                              THOMAS A. JOHNSON
 7                                                            Attorney for Defendant
                                                              SARTAJ CHAHAL
 8
 9
     DATED: June 21, 2011                                     BENJAMIN WAGNER
10                                                            United States Attorney
11                                                     By: /s/ Thomas Johnson for___ __
                                                           JASON HITT
12                                                         Assistant U.S. Attorney
13
14
15
           IT IS SO ORDERED.
16
     Dated: June 21, 2011
17                                                _______________________________________
                                                  FRANK C. DAMRELL, JR.
18
                                                  UNITED STATES DISTRICT JUDGE
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                            STIPULATION AND ORDER                    -2-
